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JAMES J. VILT, JR. - CLERK

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UNITED STATES DISTRICT COURT JUL 24 2023
WESTERN DISTRICT OF KENTUCKY U.S. DISTRICT COURT
AT LOUISVILLE WEST’N. DIST. KENTUCKY
UNITED STATES OF AMERICA PLAINTIFF
V. CRIMINAL NO. 3:21-CR-15-BJB
ASHTON CLAY NALLY DEFENDANT

PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the United States
of America, by Michael A. Bennett, United States Attorney for the Western District of Kentucky,
and defendant, Ashton Clay Nally, and his attorneys, Donald J. Meier and Chastity R. Beyl, have
agreed upon the following:

1. Defendant acknowledges that he has been charged in the Indictment in this case
with violations of Title 18, United States Code, Sections 2119(3), 924(c)(1)(A), and 924).
Defendant further acknowledges that the Indictment in this case seeks forfeiture of all firearms
and ammunition involved in the commission of the offenses, pursuant to Title 18, United States
Code, Section 924(d) and Title 28, United States Code, Section 2461, by reason of the offenses
charged in Counts | and 2 of the Indictment.

2. Defendant has read the charges against him contained in the Indictment, and those
charges have been fully explained to him by his attorneys. Defendant fully understands the nature
and elements of the crimes with which he has been charged.

3. Defendant will enter a voluntary plea of guilty to Counts | and 2 in this case.
Defendant will plead guilty because he is in fact guilty of the charges. The parties agree to the

following factual basis for this plea:
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On November 23, 2020, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, Ashton Clay Nally, took from the person and presence of

Hamza Nagdy, by force and violence, and by intimidation, a white 2016 Mazda

CX-5, bearing Florida Registration 72DCE, Vehicle Identification Number

JM3KE2DY5G0910587, which had been transported, shipped, and received in

interstate and foreign commerce, and in doing so, the defendant caused the death

of Hamza Nagdy. During the described carjacking, the defendant knowingly used,

carried and discharged a firearm, and in so doing, he caused the death of Hamza

Nagdy, through the use of the firearm in such a manner as to constitute murder.

4, Defendant understands that the charges to which he will plead guilty carry a
combined maximum term of imprisonment of life, a minimum term of imprisonment of ten years,
a combined maximum fine of $500,000, and no more than a 5 year term of supervised release.
Defendant understands that an additional term of imprisonment may be ordered if the terms of the
supervised release are violated, as explained in 18 U.S.C. § 3583.

5. Defendant recognizes that pleading guilty may have consequences with respect to
his immigration status if he is not a citizen of the United States. Under federal law, a broad range
of crimes are removable offenses, which may include the offense to which Defendant is pleading
guilty. In addition, if he is a naturalized citizen, Defendant acknowledges that certain convictions,
which may include Defendant’s conviction, may expose him to denaturalization under federal
law. Because removal, denaturalization, and other immigration consequences are handled in
separate proceedings, Defendant understands that no one, including his attorney or the U.S. District
Court, can predict with certainty how his conviction may affect his immigration, naturalization, or
citizenship status. Defendant agrees to plead guilty with a full understanding that this guilty plea

may lead to adverse immigration consequences, including denaturalization and possible automatic

removal from the United States.
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6. Defendant understands that if a term of imprisonment of more than one year is
imposed, the Sentencing Guidelines require a term of supervised release and that he will then be
subject to certain conditions of release. §§5D1.1, 5D1.2, 5D1.3.

7. Defendant understands that by pleading guilty, he surrenders certain rights set forth
below. Defendant's attorney has explained those rights to him and the consequences of his waiver
of those rights, including the following:

A. If defendant persists in a plea of not guilty to the charges against

him, he has the right to a public and speedy trial. The trial could either be a jury

trial or a trial by the judge sitting without a jury. If there is a jury trial, the jury

would have to agree unanimously before it could return a verdict of either guilty or

not guilty. The jury would be instructed that defendant is presumed innocent and

that it could not convict him unless, after hearing all the evidence, it was persuaded

of defendant's guilt beyond a reasonable doubt.

B. At a trial, whether by a jury or a judge, the United States would be
required to present its witnesses and other evidence against defendant. Defendant

would be able to confront those government witnesses and his attorney would be

able to cross-examine them. In turn, defendant could present witnesses and other

evidence in his own behalf. If the witnesses for defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

Court.

Cc. At a trial, defendant would have a privilege against self-

incrimination and he could decline to testify, without any inference of guilt being
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drawn from his refusal to testify. If defendant desired to do so, he could testify in

his own behalf.

8. Defendant understands that the United States Attorney's Office has an obligation to
fully apprise the District Court and the United States Probation Office of all facts pertinent to the
sentencing process, and to respond to all legal or factual inquiries that might arise either before,
during, or after sentencing. Defendant admits all acts and essential elements of the indictment
counts to which he pleads guilty.

9. Defendant agrees that the amount of restitution ordered by the Court shall include
Defendant’s total offense conduct, and is not limited to the counts of conviction. The parties agree
and stipulate that Defendant shall pay restitution in an amount to be determined at the time of
sentencing. The parties agree that the restitution shall be ordered due and payable on the date of
sentencing. Defendant agrees that any payment schedule imposed by the Court is without
prejudice to the United States to take all actions available to it to collect the full amount of the
restitution at any time. Restitution payments shall be made payable to the U.S. District Court Clerk
at Gene Snyder Courthouse, 601 W. Broadway, Louisville, KY 40202.

Defendant agrees that not later than 45 days from entry of the Plea Agreement, Defendant
shall provide to the United States, under penalty of perjury, a financial disclosure form listing all
Defendant’s assets/financial interests. Defendant authorizes the United States to run credit bureau
reports prior to sentencing, and Defendant will sign releases authorizing the United States to obtain
Defendant's financial records. Defendant understands that these assets and financial interests
include all assets and financial interests in which Defendant has an interest, direct or indirect,
whether held in Defendant's own name or in the name of another, in any property, real or personal.

Defendant shall also identify all assets valued at more than $5,000 which have been transferred to
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third parties since the date of the first offense, including the location of the assets and the identity
of the third party(ies). Defendant agrees that the United States may share the contents of the reports
and financial disclosures with the Court and U.S. Probation.

Defendant agrees to submit to a deposition in aid of collection at times and places that the
United States directs. If the Defendant has a financial advisor or accountant, Defendant agrees, at
his expense, to make them available to aid the United States in determining Defendant’s net
worth. Defendant authorizes the United States to file notice of Lis Pendens prior to judgment on
any real property Defendant owns either individually or jointly. Defendant agrees to his name and
debt being added to the Treasury Offset Program.

Upon execution of the Plea Agreement, Defendant agrees not to transfer, sell, or secrete
any of Defendant’s property, real or personal, held jointly, individually or by nominee/third party,
valued at $5,000 or more without first advising the United States not less than 10 days before the
proposed sale or transfer. Defendant agrees that failure to comply with any of the provisions of
this Agreement constitutes a material breach of the Plea Agreement and Defendant agrees that the
United States is relieved of its obligations under this Agreement and/or may not move the Court
pursuant to U.S.S.G. § 3E1.1(b) to reduce the offense level by one additional level, and may in its
discretion argue to the Court that the Defendant should not receive a two-level reduction for
acceptance of responsibility pursuant to U.S.S.G. § 3E1.1(a). However, the Defendant may not
withdraw his guilty plea because of his breach. The defendant further understands that he may be
responsible for a fine, costs of prosecution, costs of incarceration and supervision which may be

required.
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10. Defendant acknowledges liability for the special assessment mandated by 18
U.S.C. § 30 and will pay the assessment in the amount of $200 to the United States District Court
Clerk's Office by the date of sentencing.

11. At the time of sentencing, the United States and the defendant agree to the
following:

-agree that a sentence of 360 months’ imprisonment is the
appropriate disposition of this case.

-agree to a term of 10 years supervised release

-agree that a fine at the lowest end of the applicable Guideline Range
is appropriate, and is to be due and payable on the date of
sentencing. |

-agree that a reduction of 3 levels below the otherwise applicable
Guideline for "acceptance of responsibility" as provided by
§3E1.1(a) and (b) is appropriate, provided the defendant does not
engage in future conduct which violates any federal or state law,
violates a condition of bond, constitutes obstruction of justice, or
otherwise demonstrates a lack of acceptance of responsibility.
Should such conduct occur and the United States, therefore, opposes
the reduction for acceptance, this plea agreement remains binding
and the defendant will not be allowed to withdraw his plea.

12. Defendant agrees to the following waivers of appellate and post-conviction rights:

A. The Defendant is aware of his right to appeal his conviction and that 18 U.S.C.
§ 3742 affords a defendant the right to appeal the sentence imposed. Unless
based on claims of ineffective assistance of counsel or prosecutorial
misconduct, the Defendant knowingly and voluntarily waives the right to
directly appeal his conviction and the resulting sentence pursuant to Fed. R.
App. P. 4(b) and 18 U.S.C. § 3742.

B. The Defendant is aware of his right to contest or collaterally attack his
conviction and the resulting sentence under 28 U.S.C. § 2255 or
otherwise. Unless based on claims of ineffective assistance of counsel or
prosecutorial misconduct, Defendant knowingly and voluntarily waives any
collateral attack argument; and

' The defendant acknowledges that he has read the Notice and Penalty Pages attached to the Indictment, and that he
understands the interest and penalty provisions applicable to the fine imposed and included in the Judgment entered
by the Court, said Notice and Penalty Pages are incorporated herein by reference.

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C. The Defendant knowingly and voluntarily waives the option to file a motion to
have his sentence modified pursuant to 18 U.S.C. § 3582(c), except for a rule
35(b) motion filed by the government or a motion for compassionate release
under 3582(c)(1)(A), limited to the grounds set forth in U.S.S.G §1B1.13 until
such provision is modified by the Sentencing Commission, filed by the
defendant.

13. Defendant waives and agrees to waive any rights under the Speedy Trial Act and
understands and agrees that sentencing may be delayed. The reason for such waiver is so that at
sentencing the Court will have the benefit of all relevant information.

14. Defendant agrees not to pursue or initiate any civil claims or suits against the United
States of America, its agencies or employees, whether or not presently known to defendant, arising
out of the investigation or prosecution of the offenses covered by this Agreement.

15. The defendant hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy
Act of 1974, 5 U.S.C. § 552a.

16. Defendant agrees to interpose no objection to the United States transferring
evidence or providing information concerning defendant and this offense, to other state and federal
agencies or other organizations, including, but not limited to the Internal Revenue Service, other
law enforcement agencies, and any licensing and regulatory bodies, or to the entry of an order
under Fed. R. Crim. P. 6(e) authorizing transfer to the Examination Division of the Internal
Revenue Service of defendant's documents, or documents of third persons, in possession of the

Grand Jury, the United States Attorney, or the Criminal Investigation Division of the Internal

Revenue Service.
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17. | Defendant agrees to forfeit and abandon any right to any and all evidence and
property seized during the course of this investigation (including but not limited to any item subject
to forfeiture), and waives any right to seek the return of any property pursuant to Fed. R. Crim. P.
41 or otherwise. Defendant understands and agrees that items seized during the course of this
investigation will be destroyed or otherwise disposed of by the seizing law enforcement agency.

18. The Defendant understands and agrees that, consistent with the provisions of 18
U.S.C. § 3143, following the change of plea the defendant may be detained pending sentencing.

19. If the Court refuses to accept this agreement and impose sentence in accordance
with its terms pursuant to Fed. R. Crim. P. 11(c)(1)(C), this Agreement will become null and void
and neither party shall be bound thereto, and defendant will be allowed to withdraw the plea of
guilty. Specifically, all of the United States’ promises, including any consent to a plea to a lesser
included offense or dismissal of other charges, are contingent on the district court’s subsequent
acceptance of this plea agreement. If this agreement allows Defendant to plead to a lesser-included
offense, Defendant agrees that his original charges will automatically be reinstated and Defendant
waives any double jeopardy rights he/she may have with respect to the greater offense if the court
subsequently rejects the parties* plea agreement--even if Defendant declines to withdraw his guilty
plea to the lesser-included offense.

20. Defendant agrees that the disposition provided for within this Agreement is fair,
taking into account all aggravating and mitigating factors. Defendant states that he has informed
the United States Attorney's Office and the Probation Officer, either directly or through his
attorney, of all mitigating factors. Defendant will not oppose imposition of a sentence
incorporating the disposition provided for within this Agreement, nor argue for any other sentence.

If Defendant argues for any sentence other than the one to which he has agreed, he is in breach of
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this Agreement. Defendant agrees that the remedy for this breach is that the United States is
relieved of its obligations under this Agreement, but Defendant may not withdraw his guilty plea
because of his breach.

21. This document and the supplemental plea agreement state the complete and only
Plea Agreements between the United States Attorney for the Western District of Kentucky and
defendant in this case, and are binding only on the parties to this Agreement, supersedes all prior
understandings, if any, whether written or oral, and cannot be modified other than in writing that
are signed by all parties or on the record in Court. No other promises or inducements have been
or will be made to defendant in connection with this case, nor have any predictions or threats been
made in connection with this plea.
AGREED:

MICHAEL A. BENNETT
United States Attorney

By:

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Ap. \
Mor, ot Jou /o023
Alicia P./Gomez Date / /

Assistant United States Attorney

I have read this Agreement and carefully reviewed every part of it with my attorney. |
fully understand it and I voluntarily agree to it.

ga 7-31-35

Ashton Clay Nally Date
Defendant
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I am the defendant's counsel. [ have carefully reviewed every part of this Agreement
with the defendant. To my knowledge my client's decision to enter into this Agreement is an
informed and voluntary one.

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Donald J. Meier and Chastity R. Beyl | — Date
Counsel for Defendant

MAB:APG

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FINANCIAL STATEMENT

United States Attorney’s Office
Western District of Kentucky

A. GENERAL INSTRUCTIONS - READ CAREFULLY

The purpose of this form istogive a complete and accurate picture of your financial candition so we
may decide how to collect financial claims against you. If you are married, list assets held by your
spouse, a5 well as yourself, and show whether each asset is owned individually or jointly. Before
completing and submitting this form, you may discuss it with your own attorney. By completing and
signing this financial statement, you acknowledge that the information provided will affect action by
the United States Department of Justice and further understand that any false answers canlead tothe = |
termination or nullification of any potential settlement agreement reached and/or prosecution for false
statements under Title 18, United States Code, Section 1001 (maximum prison sentence of five (5) years
and /or a fine of not more than $250,000).

Each question must be answered completely. If the answer is “none”, you must state “none.” DO
NOT leave any question unanswered.

Please date and initial each page, and sign the last page and accompanying Release. Hf there is
insufficient space on the form, please attach additional sheets as necessary, and date and initial each
additional page.

B ACKNOWLEDGMENT, IF REPRESENTED BY COUNSEL

If lam represented by mtained or appointed counsel, I acknowledge having reviewed the foregoing
instructions with my counsel. My counsel's name and taephone number:

Name of Person Completing Form:

First Middle Last

My Signature: Date.

Authority for the solicitation of the requested information includes one or more of the following: 5US.C &@ 301, Si (sex Note,
Executive Order 6166, June 10, 1903) 28 USC § 501-S30A; USC 66 1651, 3201-2, 31 U.S.C. § 3701-3731; 44 S.C § 310;
26CPR. 64 0.140) 0.171 and Appendix to Subpart Y; 18 U.S.C § 36644d)(3) and Ped R.Civ 336)

The principal purpose for gathering this information is to evaluate your abihty to pay the government's chim of pudgreent
againstyou. Routine uses of the informa ton are established in the following U S. Department of Justice Case Fle Systema

published in Val 42 of the Pederal Register, Justice {CV 001 at page 53321; Justice/ TAX-O01 at page 15347; Justice/ USA-O05 at
pages 53106 53407; Justice / USA 407 at pages S406-S3410, Justice ACRIM-O16 at poge 12774. Disclosure of the information is
voluntary. If theraquested information is not furnished, the United States may seek disdosure through other means.

Revised 1/19/17

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